           Case 2:20-cv-02016-HSP Document 15 Filed 09/30/21 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
                                     :
QUENTIN ALLEN,                       : CIVIL ACTION
                        Plaintiff,   :
      v.                             : NO. 20-2016
                                     :
KILOLO KIJAKAZI, COMMISSIONER :
OF SOCIAL SECURITY, 1                :
                        Defendant,   :
____________________________________:

                                                     ORDER

         AND NOW, this 30th day of September, 2021, upon consideration of Plaintiff’s Brief

and Statement of Issues in Support of Request for Judicial Review (Dkt. No. 11), Defendant’s

Response to Request for Review of Plaintiff (Dkt. No. 12), and Plaintiff’s Reply Brief in Support

of Request for Judicial Review (Dkt. No. 13), and for the reasons expressed in the foregoing

Memorandum, IT IS ORDERED that:

         1. The relief sought by Plaintiff is GRANTED in part as described below;

         2. The case is REMANDED to the Commissioner pursuant to the fourth sentence of 42

U.S.C. § 405(g), and in accordance with the Report and Recommendation; and

         3. In all other respects, Plaintiff’s request for relief is DENIED.

                                                               BY THE COURT:



                                                               _/s/ Henry S. Perkin_____________
                                                               HENRY S. PERKIN
                                                               United States Magistrate Judge


1
  Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021. Pursuant to Rule 25(d) of the
Federal Rules of Civil Procedure, Ms. Kijakazi should be substituted for the former Commissioner of Social
Security, Andrew Saul, as the defendant in this action. No further action need be taken to continue this suit pursuant
to section 205(g) of the Social Security Act. 42 U.S.C. § 405(g).
           Case 2:20-cv-02016-HSP Document 15 Filed 09/30/21 Page 2 of 2




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
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                                     :
QUENTIN ALLEN,                       : CIVIL ACTION
                        Plaintiff,   :
      v.                             : NO. 20-2016
                                     :
KILOLO KIJAKAZI, COMMISSIONER :
OF SOCIAL SECURITY, 2                :
                        Defendant,   :
____________________________________:

                                                     ORDER

         AND NOW, this 30th day of September, 2021, it appearing by separate Order of

the undersigned that this case is REMANDED to the Commissioner pursuant to the fourth

sentence of 42 U.S.C. § 405(g), and in accordance with the Memorandum Opinion dated

September 30, 2021,

         IT IS ORDERED that JUDGMENT IS ENTERED IN FAVOR OF

PLAINTIFF REVERSING THE DECISION OF THE COMMISSIONER OF SOCIAL

SECURITY for the purposes of this remand only.

         IT IS FURTHER ORDERED that the Clerk of Court shall CLOSE this matter

statistically.

                                                               BY THE COURT:


                                                               _/s/ Henry S. Perkin____________
                                                               HENRY S. PERKIN
                                                               United States Magistrate Judge


2
  Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021. Pursuant to Rule 25(d) of the
Federal Rules of Civil Procedure, Ms. Kijakazi should be substituted for the former Commissioner of Social
Security, Andrew Saul, as the defendant in this action. No further action need be taken to continue this suit pursuant
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